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April 11°, 2024
To Whom It May Concern,

As Julian's uncle, | practically raised him most of his life with his father. Julian is a very
hard working responsible person. Julian is always very kind to everyone. He is also a
great uncle and cousin to ail of the children in the family. Julian has always been a great
employee and manager in all of his endeavors, My nephew has never had any run-ins
with the law, and always respected all law enforcement. Julian never harmed anyone in
his life and would never do anything fo upset anyone; he is of a very quiet nature.

[was shocked to hear the news; this is nat my nephew.
My nephew would never do anything like this. This situation has jeft my family in tears.

Please feel free to contact me if you need any additional information about my nephew
Julian Khater and his character.

Sincerely,
Pierre Khater (uncle)

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